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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ERROLL O. BAILEY-THOMAS,

                                       Plaintiff,

                    – against –                                 OPINION AND ORDER

                                                                   16 Civ. 3560 (ER)
U.S. SECURITY ASSOCIATES, INC., U.S.
SECURITY ASSOCIATES AVIATION
SERVICES, INC., BILL BUBENJECK, MARIA
RIVERA, and BILL FLORES,

                                    Defendants.

Ramos, D.J.:

       On February 7, 2017, the parties filed under seal an application for the Court to approve

their agreement settling claims brought under the Fair Labor Standards Act (“FLSA”) and the

New York Labor Law and to dismiss the case with prejudice. On February 14, the Court denied

their application and directed the parties to file the settlement agreement on the public docket.

(Doc. 17). On February 28, the parties submitted a revised settlement agreement (Doc. 19),

which the Court denied, directing the parties to indicate how the settlement funds would be

allocated between Plaintiff and his counsel and to clarify provisions in the non-disparagement

clause. (Doc. 20) On March 13, 2017, the parties submitted another revised settlement

agreement (“Revised Agreement”). (Doc. 21) The Revised Agreement provides that the

settlement is for $12,000 total, with $7,000 payable to Plaintiff, and $5,000 payable to Plaintiff’s

counsel for attorneys’ fees and costs. Agreement § 3.

       In this Circuit, parties cannot privately settle FLSA claims with prejudice absent the

approval of the district court or the Department of Labor. See Cheeks v. Freeport Pancake

House, Inc., 796 F.3d 199, 200 (2d Cir. 2015). The parties therefore must satisfy the Court that
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their agreement is “fair and reasonable.” Beckert v. Ronirubinov, No. 15 Civ. 1951 (PAE), 2015

WL 8773460, at *1 (S.D.N.Y. Dec. 14, 2015).

       “In determining whether the proposed settlement is fair and reasonable, a court should

consider the totality of circumstances, including but not limited to the following factors: (1) the

plaintiff’s range of possible recovery; (2) the extent to which the settlement will enable the

parties to avoid anticipated burdens and expenses in establishing their respective claims and

defenses; (3) the seriousness of the litigation risks faced by the parties; (4) whether the

settlement agreement is the product of arm’s-length bargaining between experienced counsel;

and (5) the possibility of fraud or collusion.” Felix v. Breakroom Burgers & Tacos, No. 15 Civ.

3531 (PAE), 2016 WL 3791149, at *2 (S.D.N.Y. Mar. 8, 2016) (quoting Wolinsky v. Scholastic

Inc., 900 F. Supp. 2d 332, 335 (S.D.N.Y. 2012)).

       The parties have adequately justified the dollar amounts constituting the settlement here:

Plaintiff worked for Defendant for approximately six months. Though he claimed that

Defendant had failed to pay him at least minimum wage for the hours he worked during the

duration of his employment, during negotiations Plaintiff conceded that he was paid at least

minimum wage at all times and that “he might have been owed overtime for two or three days, if

any.” See Letter (Doc. 19, Ex. B). The parties further claim that Plaintiff might be entitled to the

statutory amount of $5,000 for alleged violations of the New York’s Wage Theft Prevention Act

and assert that Plaintiff’s total liability and attorney’s fees would amount to approximately

$6,000 or $7,000. Thus, Plaintiff’s direct recovery of $7,000 is fair and reasonable. The record

also demonstrates that counsel have engaged in good faith and arm’s length negotiations to arrive

at this settlement, and there is no sign of fraud of collusion. See Docs. 16, 18, 19, 21. The time




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sheets submitted by Plaintiff’s counsel, totaling over $17,000 in billed hours, renders the $5,000

in attorneys’ fees here a reasonable fee. (Doc. 19, Ex. B).

       However, although the parties have cured the Court’s prior concerns regarding the

allocation of attorneys’ fees and the non-disparagement clause, the Revised Agreement still

contains an improper release. See Revised Agreement § 8 (“Plaintiff agrees and covenants not to

file any suit, complaint, charge, claim, grievance, or demand . . . with regard to any claim . . .

with respect to any maters that were or could have been alleged in the Complaint, arising out of

the Plaintiff’s employment or otherwise.”). “Courts in this District routinely reject release

provisions that ‘waive practically any possible claim against the defendants, including unknown

claims and claims that have no relationship whatsoever to wage-and-hour issues.’” Martinez v.

Gulluoglu LLC, No. 15 Civ. 2727 (PAE), 2016 WL 206474, at *2 (S.D.N.Y. Jan. 15, 2016)

(quoting Lopez v. Nights of Cabiria, LLC, 96 F. Supp. 3d 170, 181 (S.D.N.Y. 2015)); see also

Garcia v. Jambox, Inc., No. 14 Civ. 3504 (MHD), 2015 WL 2359502, at *3–4 (S.D.N.Y. Apr.

27, 2015). Though the parties do include a release provision limited to wage-and-hour claims,

see Revised Agreement § 4, the additional release provision in paragraph 8 is excessively broad

and bears no relation to the actual claims at issue, and is thus not “fair and reasonable.” The

Court will not approve an agreement that contains a release provision extending beyond the

claims at issue. See Martinez, 2016 WL 206474, at *2; Lazaro-Garcia v. Sengupta Food Servs.,

No. 15 Civ. 4259 (RA), 2015 WL 9162701, at *32 (S.D.N.Y. Dec. 15, 2015).




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